        Case
         Case2:14-cr-00141-GMN-DJA
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 1   DANIEL G. BOGDEN
     United States Attorney
 2   District of Nevada
     ROBERT A. KNIEF
     Assistant United States Attorney
 3   333 Las Vegas Boulevard South, Suite 5000
     Las Vegas, Nevada 89101
 4   702-388-6336

 5                 UNITED STATES DISTRICT COURT
                        DISTRICT OF NEVADA
 6                                                -oOo-
     UNITED STATES OF AMERICA,                      )
 7                                                  ) Case No.: 2:14-cr-141-GMN-CWH
                                                    )
                    Plaintiff,                      )
 8
                                                    ) GOVERNMENT’S MOTION TO
 9
            vs.                                     ) DISMISS INDICTMENT
                                                    )
     MIGUEL ANGEL ALVARADO and                      )
10                                                  )
     JOSE BLAS GARCIA-ANGULO,
                                                    )
11                                                  )
                    Defendants.                     )
12                                                  )

13          Plaintiff United States of America, by and through DANIEL G. BOGDEN,

14   United States Attorney, and ROBERT A. KNIEF, Assistant United States
     Attorney, brings the following motion to dismiss the indictment.
15
            Pursuant to Fed. R. Crim. P. 48(a), the government moves for the dismissal
16   of the indictment filed in this matter on April 16, 2014 as to defendants Miguel
17   Angel Alvarado and Jose Blas Garcia-Angulo.

18          Dated this 30th day of March 2016.
                                                       Respectfully submitted,
19                                                           DANIEL G. BOGDEN,
     *5*44003%&3&%                                       United States Attorney
20   *5*4'635)&303%&3&%UIBUUIF13
     #POEBTUP%FGFOEBOU.JHVFM"OHFM"MWBSBEP             /s/ Robert A. Knief
21   JTIFSFCZFYPOFSBUFE                                  _______________________________
     *5*4'635)&303%&3&%UIBU%FGFOEBOU                   ROBERT A. KNIEF
22   +PTF#MBT(BSDJB"OHVMPCFSFMFBTFEGSPN               Assistant United States Attorney
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        Case
         Case2:14-cr-00141-GMN-DJA
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1                           CERTIFICATE OF ELECTRONIC SERVICE

2          This is to certify that the undersigned has served counsel for Defendant’s

3    with the foregoing by means of electronic filing.

4          Dated this 30th day of March, 2016.

5
                                             /s/ Robert A. Knief
6                                            _________________________________
                                             ROBERT A. KNIEF
7                                            Assistant United States Attorney

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